Remney Name — INCIDENTIINVESTIGATION
Apex Police Department, REPORT

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Case 3:23-cr-00014-DJH Document 89-2 Filed 11/13/23 Page 2 of 5 PagelD #: Z65

INGIDENT/INVESTIGATION REPORT |
Apex Police-Department

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By; XAVALOS, 11/29/2018 12:24.

Case 3:23-c¢r-00014-DJH Document 89-2 Filed 11/13/23 Page 3 of 5 PagelD #:. 766

REPORTING OFFICER NARRATIVE er
_. 2018-01240 |
Offense [Date 7 Time R cme
. HARASSING PHONE CALLS

Apex.Police Department
“Viti

Synopsis: I, Officer Corbett with the Apex Police: Department, ‘was:on duty and in uniform operating my marked

patrol cat in the city of. Apex-on Tuesday, 04-24-2017. 1 responded: to areportof Harassment at
Ea

Investigation Notes: On vane 04-24-2017. at 1832 pore T Meee hoc to the pox vi hiving ue i in tefetenoe

i tI late: tated that her aad uae ‘métvip: ‘and had s sexual
} lizabeth leained that Bryan was in theimilitary and lived in Tennessee.

After Bryai| left North Cat olina Elizabeth has been n receiving numerous: messages from u Bryan. Elizabeth: stated that

that Bryan was ising diffrent miabers to ‘colitact. fen. E lizabeth, just wanted: the ser reported, ‘bot no
prosecution at this tithe.

eo advised Elizabeth to contact her phone provider to block all contact from Bryan, as well as a no contact order,

Disposition: Closed.

"Reporting Officer! CORBETT, C.'8: Printed By; KAVALOS, 11/29/2018 12:24. Page 3
Recsane

Case 3:23-cr-00014-DJH Document 89-2 Filed 11/13/23 Page 4 of 5 PagelD #- 2672

Incident Report Additional Suspect List

Apex Police Department

“““T Name (Last; First Middle)

“Also Known As
Conley, Bryan :

BiapliOoe a Business Address

DOB.. / Age {Rice pSex | Eth Het Wat ‘Physical. Char’
1 Soars; Marks, Tattoos; or other distinguishing features

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‘Type of Weapon

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Rcsene . . : XAVALOS

Case 3:23-er-00044-DJH Decument 89-2 Filed 14/43/23 Page 5 of 5 PagelD #: 768

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF KENTUCKY

LOUISVILLE DIVISION
UNITED STATES OF AMERICA,
Plaintiff
Vv. Case No. 3:23-CR-00014-DJH
BRYAN DOUGLAS CONLEY,
Defendant.

ORDER

This matter is before the Court on Defendant Bryan Douglas Conley’s Motion in Limine
to Exclude Certain Text Messages. [R. 28.] The Court being sufficiently advised,

IT IS HEREBY ORDERED as follows:

1. Defendant Conley’s Motion in Limine to Exclude Certain Text Messages [R. 28]
is GRANTED;
2. The government is hereby prohibited from introducing the text messages, or the

substance of the text messages, allegedly sent by Mr. Conley to K.C. and Elizabeth Heather
Glass; the text messages are hereby excluded from a trial in this matter.

This the day of , 20

